                                                                         Case 2:20-cv-00723-GMN-EJY Document 69 Filed 02/03/22 Page 1 of 3




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                                                               9                                  UNITED STATES DISTRICT COURT

                                                               10                                      DISTRICT OF NEVADA
                     2625 N. GREEN VALLEY PARKWAY, SUITE 100
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                                                               11   PLATTE RIVER INSURANCE COMPANY, a                    CASE NO.: 2:20-cv-00723-GMN-EJY
                             HENDERSON, NEVADA 89014




                                                                    Nebraska corporation,
                                TEL. (702) 458-5790




                                                               12
                                                                                         Plaintiff,
                                                               13   v.                                                      STIPULATION AND ORDER TO
                                                                                                                            EXTEND REPLY DEADLINE TO
                                                               14   YAN HONG LIU dba C&L ENTERPRISE, a                      OPPOSITION TO MOTION FOR
                                                                    Nevada individual and sole proprietor; UFP DKY             SUMMARY JUDGMENT
                                                               15   STORE 102, LLC, a Nevada limited liability
                                                                    company; BIG BIZ PRO, LLC, a Nevada limited                    (FIRST REQUEST)
                                                               16   liability company; DOES 1 through 10, and ROE
                                                                    CORPORATIONS 1 through 10, inclusive,
                                                               17
                                                                                        Defendants.
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                                                               20   YAN HONG LIU dba C&L ENTERPRISE,

                                                               21                 Counterclaimant,

                                                               22   v.

                                                               23   PLATTE RIVER INSURANCE COMPANY, a
                                                                    Nebraska corporation, and DOES 1-10,
                                                               24
                                                                                  Counterdefendants.
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                                                               1           Plaintiff/Counterdefendant, Platte River Insurance Company (“Platte River”), by and

                                                               2    through its counsel, Kurt C. Faux, Esq. of the Faux Law Group, and Defendant/Counterclaimant,

                                                               3    Yan Hong Liu dba C&L Enterprise (“C&L”), by and through its counsel, Jason M. Wiley, Esq. and

                                                               4    E. Daniel Kidd, Esq. of Wiley Petersen (collectively referred to as the “Parties”), hereby submit the

                                                               5    following Stipulation to Extend the Deadline for Platte River to File a Reply to C&L’s Opposition

                                                               6    to Platte River’s Motion for Summary Judgment on its First Cause of Action [ECF No. 60]. The

                                                               7    Parties hereby stipulate and agree as follows.

                                                               8           1.      Platte River’s Motion for Summary Judgment on its First Cause of Action [ECF No.

                                                               9    60] was filed on December 20, 2021 (hereinafter “Motion for Summary Judgment”).

                                                               10          2.      A Stipulation and Order was entered granting C&L to January 24, 2022 to file an
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                                                               11   opposition. [ECF No. 64].
                             HENDERSON, NEVADA 89014
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                                                               12          3.      C&L filed its Opposition on January 24, 2022. [ECF No. 66].

                                                               13          4.      Platte River’s Reply is due on February 7, 2022. [ECF No. 66].

                                                               14          5.      Counsel for Platte River, Kurt C. Faux, Esq. will be preparing the Reply to the

                                                               15   Opposition to the Motion for Summary Judgment. However, Mr. Faux has been out of state to

                                                               16   attend a funeral related service of a mentor in Pleasant Grove, Utah, and a family function for a

                                                               17   grandson in Idaho Falls, Idaho. Further, Nevada Power made certain energy modifications to the

                                                               18   office of Faux Law resulting in Faux Law being unable to access its electronic files for

                                                               19   approximately 48 hours (Faux Law stores all files electronically). Attorney Willi Siepmann has

                                                               20   been out of the country commencing January 27, 2022, and returning on or about February 6, 2022.

                                                               21          6.      Based on the foregoing, the Parties hereby stipulate and agree to extend the Reply

                                                               22   deadline by 7 days so that the Reply is due on February 14, 2022.

                                                               23          7.      There is good cause to extend the deadline as requested.

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                                                               1           IT IS SO STIPULATED AND AGREED.

                                                               2    DATED this 3rd day of February, 2022.              DATED this 3rd day of February, 2022.

                                                               3    THE FAUX LAW GROUP                                 WILEY PETERSEN

                                                               4    By: /s/ Kurt C. Faux                               By: /s/ Jason M. Wiley
                                                                    KURT C. FAUX, ESQ. (#003407)                       JASON M. WILEY, ESQ. (#009274)
                                                               5    2625 N. Green Valley Parkway, #100                 E. DANIEL KIDD, ESQ. (#10106)
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                                                               6    Attorneys for Plaintiff/Counterdefendant           Las Vegas, NV 89145
                                                                    Platte River Insurance Company                     Attorneys for Defendant/Counterclaimant
                                                               7                                                       Yan Hong Liu dba C&L Enterprise

                                                               8

                                                               9                                               ORDER

                                                               10                                              IT IS SO ORDERED.
                     2625 N. GREEN VALLEY PARKWAY, SUITE 100
THE FAUX LAW GROUP




                                                               11                                              Dated this ____
                                                                                                                            3 day of February, 2022.
                             HENDERSON, NEVADA 89014
                                TEL. (702) 458-5790




                                                               12

                                                               13                                              ___________________________
                                                                                                               Gloria M. Navarro, District Judge
                                                               14                                              UNITED STATES DISTRICT COURT

                                                               15
                                                                    Submitted by:
                                                               16
                                                                    The Faux Law Group
                                                               17   By: /s/ Kurt C. Faux
                                                                    KURT C. FAUX, ESQ.
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